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GLORIA NOEMI RAMIREZ CAAL,                          UNITED STATES DISTRICT COURT
                                                    DISTRICT COURT OF NEW JERSEY
                                                    TRENTON
   Plaintiff

   vs.                                                Civil Action No.:     (   -   )

CITY OF TRENTON;
TARA DZURKOC,
and
JOHN DOES 1-10 (fictitious individuals),              COMPLAINT
members of the City of Trenton Police
Department and/or
the U.S. Marshall’s New York/New Jersey
Regional Fugitive Task Force;
SHEILAH COLEY, Police Director;
and JOHN DOES 11-20 (fictitious individuals),
Personnel of the City of Trenton
Police Department and/or
the U.S. Marshall’s New York/New Jersey
Regional Fugitive Task Force in supervisory
capacities;

   Defendants.

                                       JURISDICTION

         1. This action is brought pursuant to 42 U.S.C. Section 1983 and Bivens v. Six Unknown

Named Agents of the Federal Bureau of Narcotics, 413 U.S. 388 (1971) and in accordance with

the Fourth and Fourteenth Amendments of the Constitution of the United States of America.

Jurisdiction is conferred under 28 U.S.C. Sections 1331 and 1343(3). This Court has



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supplemental jurisdiction over Plaintiff’s pendent state law claims pursuant to 28 U.S.C. Section

1367.

                                             PARTIES

          2. Plaintiff Gloria Noemi Ramirez Caal residing at 1462 Liberty Street, Trenton, NJ,

08629, Mercer County, is and was, at all times herein relevant, a resident of the State of New

Jersey.

          3. Defendants Tara Dzurkoc and/or John Does 1-20 were at all times mentioned herein

duly appointed and acting police officers of the City of Trenton Police Department and/or the

U.S. Marshall’s New York/New Jersey Regional Fugitive Task Force and at all times herein were

acting in such a capacity as the agents, servants and/or employees of the City of Trenton and/or

the U.S. Marshall’s New York/New Jersey Regional Fugitive Task Force and were acting under

the color of sate law and/or federal authority.

          4. Defendants Police Director Sheilah Coley and/or John Does 11-20 were at all times

mentioned herein duly appointed and acting members of the City of Trenton Police Department

and at all times herein were acting in such capacities as the agents, servants and/or employees of

the City of Trenton and were acting under the color of law.

          5. Defendants Police Director Sheilah Coley and/or John Does 11-20 were acting in

supervisory capacities over Tara Dzurkoc and/or John Does 1-10 and responsible by law for the

training, supervision and conduct of Tara Dzurkoc and/or John Does 1-10.

          6. Defendant City of Trenton is a duly designated municipality of the state of New

Jersey, under the laws of the state of New Jersey.

          7. At all times relevant hereto, Defendant City of Trenton employed the aforementioned


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Defendants. As such, it was responsible for the training, supervision and conduct of Defendants

Sheilah Coley, Tara Dzurkoc and/or John Does 1-10.

       8. All Defendants are named in their individual and official capacities.

                 FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

       1. On 1/7/20, Defendants Tara Dzurkoc and/or John Does 1-10 arrived at Plaintiff’s

home to arrest her son as part of a U.S. Marshall’s New York/New Jersey Regional Fugitive Task

Force operation.

       2. After removing Plaintiff’s son from the residence, officers proceeded to assault

Plaintiff’s daughter.

       3. Plaintiff is 4 feet 11 inches tall, a native of Guatemala and speaks no English.

       4. Plaintiff began recording Defendants’ actions with her cell phone.

       5. Seeing Plaintiff recording them, Defendants Tara Dzurkoc and/or John Does 1-10

proceeded to use excessive and unreasonable force on Plaintiff’s person.

       6. Specifically, Defendant Dzurkoc punched Plaintiff “ several times with a closed fist in

her face” (according to Defendant Dzurkoc’s Affidavit of Probable Cause) , knocking out her

two front teeth. Defendants John Does 1- 10 also punched and kicked Plaintiff numerous times.

       7. Plaintiff was charged with Aggravated Assault on a Law Enforcement Officer,

Resisting Arrest and Obstructing the Administration of Laws.

       8. The criminal charges brought against Plaintiff were resolved by way of her being

accepted into the Pretrial Intervention Program without a plea. All charges were eventually

dismissed.




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       9. In addition to losing her two upper teeth, Plaintiff sustained various other injuries to

her head, neck and back as well as her right leg.

                                     COUNT ONE
                        SECTION 1983 USE OF EXCESSIVE FORCE

       1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

       2. As a direct and proximate result of the above-referenced unlawful and malicious

physical abuse of Plaintiff by Defendants Tara Dzurkoc and/or John Does 1-10 committed under

color of state law, Plaintiff sustained bodily harm and was deprived of her right to be secure in

her person against unreasonable seizure of her person, in violation of the Fourth and Fourteenth

Amendments of the Constitution of the United States and U.S.C. Section 1983.

       3. As a direct and proximate cause of the malicious and outrageous conduct of

Defendants as set forth above, Plaintiff suffered physical and emotional injuries, medical

expenses and will suffer additional special damages in the future in an amount which cannot yet

be determined.

       4. By reason of the excessive and unreasonable force used on Plaintiff’s person, Plaintiff

was injured and was deprived of her constitutional rights as described above.

       WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants Tara Dzurkoc and/or John Does 1-10 on this Count together with compensatory and

punitive damages, attorney’s fees, interest and costs of suit incurred, and for any such further

relief as the court deems proper and just.




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                                       COUNT TWO
                                      BIVENS ACTION
                                 USE OF EXCESSIVE FORCE

       1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

       2. As a direct and proximate result of the above-referenced unlawful and malicious

physical abuse of Plaintiff by Defendants Tara Dzurkoc and/or John Does 1-10 committed under

color of federal authority, Plaintiff sustained bodily harm and was deprived of her right to be

secure in her person against unreasonable seizure of her person, in violation of the Fourth and

Fourteenth Amendments of the Constitution of the United States.

       3. As a direct and proximate cause of the malicious and outrageous conduct of

Defendants as set forth above, Plaintiff suffered physical and emotional injuries, medical

expenses and will suffer additional special damages in the future in an amount which cannot yet

be determined.

       4. By reason of the excessive and unreasonable force used on Plaintiff’s person, Plaintiff

was injured and was deprived of her constitutional rights as described above.

       WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants Tara Dzurkoc and/or John Does 1-10 on this Count together with compensatory and

punitive damages, attorney’s fees, interest and costs of suit incurred, and for any such further

relief as the court deems proper and just.

                                    COUNT THREE
                         SECTION 1983 FAILURE TO INTERVENE

       1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

       2. Defendants Tara Dzurkoc and/or John Does 1-10 were City of Trenton Police Officers

and at all times mentioned herein were acting under color of state law.

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       3. Defendants Tara Dzurkoc and/or John Does 1-10 had a duty to intervene in the

unjustified assault and arrest of Plaintiff by Defendants Tara Dzurkoc and/or John Does 1-10.

       4. The unjustified assault and arrest of Plaintiff by Defendants Tara Dzurkoc and/or

John Does 1-10 deprived Plaintiff of her right to be secure in her person against unreasonable

seizure in violation of the Fourth and Fourteenth Amendments of the Constitution of the United

States and made actionable through 42 U.S.C. Section 1983.

       5. Defendants Tara Dzurkoc and/or John Does 1-10 had a reasonable opportunity to

intervene in the unjustified arrest and assault of Plaintiff by Defendants Tara Dzurkoc and/or

John Does 1-10 and failed to intervene.

       6. As a direct and proximate cause of conduct of Defendants set forth above, Plaintiff

was deprived of her constitutional rights; sustained physical and emotional injuries; medical

expenses, and will suffer additional special damages in the future in an amount which cannot yet

be determined.

       WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants Tara Dzurkoc and/or John Does 1-10 on this Count together with compensatory and

punitive damages, attorney’s fees, interest and costs of suit incurred, and for any such further

relief as the court deems proper and just.

                                       COUNT FOUR
                                     BIVENS ACTION
                               1983 FAILURE TO INTERVENE

       1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

       2. Defendants Tara Dzurkoc and/or John Does 1-10 were members of and/or the agents,

servants and/or employees of the U.S. Marshall’s New York/New Jersey Regional Fugitive Task


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Force and at all times mentioned herein were acting under color of federal authority.

          3. Defendants Tara Dzurkoc and/or John Does 1-10 had a duty to intervene in the

unjustified assault and arrest of Plaintiff by Defendants Tara Dzurkoc and/or John Does 1-10.

          4. The unjustified assault and arrest of Plaintiff by Defendants Tara Dzurkoc and/or

John Does 1-10 deprived Plaintiff of her right to be secure in her person against unreasonable

seizure in violation of the Fourth and Fourteenth Amendments of the Constitution of the United

States.

          5. Defendants Tara Dzurkoc and/or John Does 1-10 had a reasonable opportunity to

intervene in the unjustified arrest and assault of Plaintiff by Defendants Tara Dzurkoc and/or

John Does 1-10 and failed to intervene.

          6. As a direct and proximate cause of conduct of Defendants set forth above, Plaintiff

was deprived of her constitutional rights; sustained physical and emotional injuries; medical

expenses, and will suffer additional special damages in the future in an amount which cannot yet

be determined.

          WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants Tara Dzurkoc and/or John Does 1-10 on this Count together with compensatory and

punitive damages, attorney’s fees, interest and costs of suit incurred, and for any such further

relief as the court deems proper and just.

                                      COUNT FIVE
                     SECTION 1983 FIRST AMENDMENT RETALIATION

          1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

          2. The aforementioned acts of Defendants Tara Dzurkoc and/or John Does 1-10

committed under color of state law and/or in their individual capacities constituted a retaliation

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in violation of the First Amendment of the United States Constitution.

       3. Specifically, Plaintiff’s right to record the police-citizen encounter in her home was

constitutionally protected conduct under the First Amendment.

       4. Defendants interfered with Plaintiff’s constitutionally protected conduct by assaulting

her, using excessive and unreasonable physical force on her person and arresting her.

       5. By reason of the above, Plaintiff sustained diverse substantial and permanent physical

and emotional injuries; medical expenses; lost wages and pain and suffering, and will suffer

additional special damages in the future in an amount which cannot yet be determined.

       WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants Tara Dzurkoc and/or John Does 1-10 on this Count together with compensatory and

punitive damages, attorney’s fees, interest and costs of suit incurred, and for any such further

relief as the court deems proper and just.

                                     COUNT SIX
                                   BIVENS ACTION
                           FIRST AMENDMENT RETALIATION

       1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

       2. The aforementioned acts of Defendants Tara Dzurkoc, and/or John Does 1-10

committed under color of state law and/or in their individual capacities constituted a retaliation

in violation of the First Amendment of the United States Constitution.

       3. Specifically, Plaintiff’s right to record the record the police-citizen encounter in her

home was constitutionally protected conduct under the First Amendment.

       4. Defendants interfered with Plaintiff’s constitutionally protected conduct by assaulting

her, using excessive and unreasonable physical force on her person and arresting her.


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       5. By reason of the above, Plaintiff sustained diverse substantial and permanent physical

and emotional injuries; medical expenses; lost wages and pain and suffering, and will suffer

additional special damages in the future in an amount which cannot yet be determined.

       WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants Tara Dzurkoc and/or John Does 1-10 on this Count together with compensatory and

punitive damages, attorney’s fees, interest and costs of suit incurred, and for any such further

relief as the court deems proper and just.

                                   COUNT SEVEN
                      SECTION 1983 FABRICATION OF EVIDENCE
                          IN VIOLATION OF DUE PROCESS

       1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

       2. Defendants Tara Dzurkoc and/or John Does 1-10 acting under color of state law

fabricated evidence against Plaintiff, violating her due process rights under the Fourteenth

Amendment.

       3. Specifically, Defendants Dzurkoc and/or John Does 1-10 prepared false reports and/or

gave false statements in an effort to justify their use of excessive and unreasonable force on

Plaintiff’s person.

       4. As a direct and proximate cause of conduct of Defendants set forth above, Plaintiff

sustained diverse substantial and permanent physical and emotional injuries; medical expenses;

lost wages and pain and suffering, and will suffer additional special damages in the future in an

amount which cannot yet be determined.

       WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants Tara Dzurkoc and/or John Does 1-10 on this Count together with compensatory and


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punitive damages, attorney’s fees, interest and costs of suit incurred, and for any such further

relief as the court deems proper and just.

                                     COUNT EIGHT
                                    BIVENS ACTION
                               FABRICATION OF EVIDENCE
                             IN VIOLATION OF DUE PROCESS

       1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

       2. Defendants Tara Dzurkoc and/or John Does 1-10 acting under the color of federal

authority fabricated evidence against Plaintiff, violating her due process rights under the

Fourteenth Amendment.

       3. Specifically, Defendants Dzurkoc and/or John Does 1-10 prepared false reports and/or

gave false statements in an effort to justify their use of excessive and unreasonable force on

Plaintiff’s person.

       4. As a direct and proximate cause of conduct of Defendants set forth above, Plaintiff

sustained diverse substantial and permanent physical and emotional injuries; medical expenses;

lost wages and pain and suffering, and will suffer additional special damages in the future in an

amount which cannot yet be determined.

       WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants Tara Dzurkoc and/or John Does 1-10 on this Count together with compensatory and

punitive damages, attorney’s fees, interest and costs of suit incurred, and for any such further

relief as the court deems proper and just.

                                    COUNT NINE
                        SECTION 1983 SUPERVISORY LIABILITY

       1. The previous paragraphs are incorporated herein inclusively as if fully set forth.


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        2. Defendants Coley and/or John Does 11-20 were supervisory officials and/or officers

in charge at the time Plaintiff was arrested and assaulted.

        3. Defendants Coley and/or John Does 11-20 had a duty to prevent subordinate officers

Defendants Dzurkoc and/or John Does 1-10 from violating the constitutional rights of citizens

and/or detainees.

        4. Defendants Coley and/or John Does 11-20 either directed Defendants Dzurkoc

and/or John Does 1-10 to violate Plaintiff’s constitutional rights or had knowledge of and

acquiesced in his/their subordinate’s violations.

        5. Defendants Coley and/or John Does 11-20 failed to adequately track departmental

excessive force complaints, administrative complaints and/or use of force incidents

in violation of City of Trenton Police Department policies, practices, customs and/or guidelines

and/or the New Jersey Attorney General’s Use of Force and/or Internal Affairs Guidelines, and/or

failed to discipline officers for such violations.

        6. By reason of the above Plaintiff was deprived of her constitutional rights, sustained

physical and emotional injuries, medical expenses and will suffer additional special damages in

the future in an amount which cannot yet be determined.

        WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants Coley and/or John Does 11-20 on this Count together with compensatory and

punitive damages, attorney’s fees, interest and costs of suit incurred, and for any such further

relief as the court deems proper and just.




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                                        COUNT TEN
                                      BIVENS ACTION
                                  SUPERVISORY LIABILITY

       1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

       2. Defendants John Does 11-20 were supervisory officials and/or officers in charge at

the time Plaintiff was arrested and assaulted.

       3. Defendants John Does 11-20 had a duty to prevent subordinate officers Defendants

Dzurkoc and/or John Does 1-10 from violating the constitutional rights of citizens and/or

detainees.

       4. Defendants John Does 11-20 either directed Defendants Dzurkoc and/or John Does 1-

10 to violate Plaintiff’s constitutional rights or had knowledge of and acquiesced in his/their

subordinate’s violations.

       5. Defendants John Does 11-20 failed to adequately track departmental excessive force

complaints, administrative complaints and/or use of force incidents in violation of federal law

enforcement policies; practices; customs, and/or procedures, and/or failed to discipline officers

for such violations.

       6. By reason of the above Plaintiff was deprived of her constitutional rights, sustained

physical and emotional injuries, medical expenses and will suffer additional special damages in

the future in an amount which cannot yet be determined.

       WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants John Does 11-20 on this Count together with compensatory and punitive damages,

attorney’s fees, interest and costs of suit incurred, and for any such further relief as the court

deems proper and just.




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                                COUNT ELEVEN
               SECTION 1983 UNLAWFUL POLICY, CUSTOM, PRACTICE
                             INADEQUATE TRAINING

       1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

       2. Defendants City of Trenton, City of Trenton Police Director Sheilah Coley

and/or John Does 11-20 are vested by state law with the authority to make policy on : (1) the use

of force; internal affairs investigations and/or administrative reviews pursuant to the City of

Trenton Police Department policies, practices and/or customs and/or the New Jersey Attorney

General’s Use of Force and/or Internal Affairs Guidelines; (2) effectuating arrests; (3) police

citizen encounters, and/or (4) disciplining officers.

       3. Defendants Coley and/or John Does 11- 20 are responsible for training police

officers in the use of force and/or were officers in charge when Plaintiff Gloria Noemi Ramirez

Caal was assaulted and arrested.

       4. At all times mentioned herein, Tara Dzurkoc and/or John Does 1- 10, as police

officers, agents, servants and/or employees of Defendant City of Trenton, were acting under the

direction and control of Defendants City of Trenton Police Department, Coley and/or John Does

11-20, and were acting pursuant to the official policy, practice or custom of the City of Trenton

Police Department.

       5. Acting under color of law pursuant to official policy, practice, or custom, Defendants

City of Trenton, Coley and/or John Does 11-20 intentionally, knowingly, recklessly and/or with

deliberate indifference failed to train, instruct, supervise, control, and discipline on a continuing

basis, Tara Dzurkoc and/or John Does 1-10 in their duties to refrain from: (1) unlawfully and

maliciously assaulting, arresting and harassing citizens; (2) intentionally, recklessly and/or


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negligently misrepresenting the facts of arrests and/or other police-citizen encounters; (3)

falsifying police and/or other official records; (4) withholding and/or mishandling evidence; (5)

making false arrests, and/or (6) using unreasonable and excessive force.

        6. Acting under color of law pursuant to official policy, practice, or custom, Defendants

City of Trenton, Coley and/or John Does 11-20 intentionally, knowingly, recklessly and/or with

deliberate indifference implemented and/or conducted superficial and shallow Internal Affairs

processes which ignored evidence and patterns of police misconduct on individual and

departmental levels. Defendants City of Trenton, Coley and/or John Does 11-20 failed to

professionally, objectively and/or expeditiously investigate instances and patterns of police

misconduct in violation of the spirit and substance of the New Jersey Attorney General’s

Guidelines for Internal Affairs Policy and Procedures.

        7. Defendants City of Trenton, Coley and/or John Does 11-20 failed to adequately track

departmental excessive force complaints, administrative complaints and/or use of force incidents

in violation of City of Trenton Police Department policies, practices, customs and/or guidelines

and/or the New Jersey Attorney General’s Use of Force and/or Internal Affairs Guidelines, and/or

failed to discipline officers for such violations.

        8. Defendants City of Trenton, Coley and/or John Does 6- 10 were aware of numerous

similar police citizen encounters involving, and/or Internal Affairs complaints and/or civil

lawsuits filed against, Defendants Dzurkoc, John Does 1-10 and/or other City of Trenton Police

Officers whereby they customarily and frequently subjected citizens held in custody to physical

and mental abuse; unlawfully and maliciously assaulted, arrested and harassed citizens;

intentionally, recklessly and/or negligently misrepresented the facts of arrests and/or other police-



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citizen encounters; falsified police and/or other official records; made false arrests, mishandled

and/or withheld evidence and/or used unreasonable and excessive force on citizens/arrestees.

       9. Specifically, Defendants Coley and/or John Does 11-20 were aware of at least three

prior excessive force lawsuits filed by other citizens against Defendants Dzurkoc and other

Trenton Police Officers: Barlow v. Dzurkoc / City of Trenton, et als. Docket#: MER-L-001616-

20, Discher v. Dzurkoc / City of Trenton, et als. Civil Action#: 17-08929 (PGS-TJB) and J.D., et

als. v. City of Trenton, et als. Civil Action#: 21-01795 (MAS-ZNQ).

       10. Despite their awareness, Defendants City of Trenton, Coley and/or John Does 11-20

failed to employ any type of corrective or disciplinary measures against Defendants Dzurkoc,

John Does 1-10 and/or other City of Trenton Police Officers.

       11. Defendants City of Trenton, Coley and/or John Does 11-20 had knowledge of, or,

had they diligently exercised their duties to instruct, train, supervise, control, and discipline

Defendants Dzurkoc and/or John Does 1-10 on a continuing basis, should have had knowledge

that the wrongs which were done, as heretofore alleged, were about to be committed.

       12. Defendants City of Trenton, Coley and/or John Does 11-20 had power to prevent or

aid in preventing the commission of said wrongs, could have done so by reasonable diligence,

and intentionally, knowingly, recklessly and/or with deliberate indifference failed to do so.

       13. Defendants City of Trenton, Coley and/or John Does 11-20, directly or indirectly,

under color of state law, approved and/or ratified the unlawful, deliberate, malicious, reckless,

and wanton conduct of Defendants Tara Dzurkoc and/or John Does 1-10 heretofore described.

       14. As a direct and proximate cause of conduct of Defendants set forth above, Plaintiff

was deprived of her Fourth and Fourteenth Amendment constitutional rights; sustained bodily



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injuries, medical expenses and will suffer additional special damages in the future in an amount

which cannot yet be determined.

       WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants City of Trenton, Sheilah Coley and/or John Does 11-20 on this Count together with

compensatory and punitive damages, attorney’s fees, interest and costs of suit incurred, and for

any such further relief as the court deems proper and just.

                          SUPPLEMENTAL STATE LAW CLAIMS

                              COUNT TWELVE
              VIOLATION OF NEW JERSEY CIVIL RIGHTS ACT (NJCRA)

       1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

       2. The excessive force used and failure to intervene by Defendants Dzurkoc and/or John

Does 1-10, set forth at length above, deprived plaintiff of her substantive due process right to be

free from unlawful seizure of her person and her fundamental right to liberty secured by the

Constitution of the United States and the Constitution of the State of New Jersey, in violation of

N.J.S.A. 10:6-1, et seq. (“The New Jersey Civil Rights Act”).

       3. As a direct and proximate cause of conduct of Defendants set forth above, Plaintiff

was deprived of her constitutional rights; sustained physical and emotional injuries; medical

expenses, and will suffer additional special damages in the future in an amount which cannot yet

be determined.

       WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants Tara Dzurkoc and/or John Does 1-10 on this Count together with compensatory and

punitive damages, attorney’s fees, interest and costs of suit incurred, and for any such further

relief as the court deems proper and just.




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                                     COUNT THIRTEEN
                                   ASSAULT AND BATTERY

       1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

       2. At all times relevant herein, Defendants Dzurkoc and/or John Does 1-10 were acting

within the scope of their employment as Trenton police officers and/or the U.S. Marshall’s New

York/New Jersey Regional Fugitive Task Force.

       3. Defendants Dzurkoc and/or John Does 1-10 committed an assault and battery on

Plaintiff by physically injuring her without justification and/or by putting her in reasonable

apprehension of serious and imminent bodily harm.

       4. The assault and battery committed by Defendants was contrary to the common law of

the State of New Jersey.

       5. As a result of the intentional, reckless, negligent and/or objectively unreasonable

assault and battery, as specifically alleged above, Plaintiff sustained diverse substantial and

permanent physical and emotional injuries; medical expenses; lost wages and pain and suffering,

and will suffer additional special damages in the future in an amount which cannot yet be

determined.

        WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants Tara Dzurkoc, the City of Trenton and/or John Does 1-10 on this Count together with

compensatory and punitive damages, attorney’s fees, interest and costs of suit incurred, and for

any such further relief as the court deems proper and just.




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                                     COUNT FOURTEEN
                                       NEGLIGENCE

       1. The previous paragraphs are incorporated herein inclusively as if fully set forth.

       2. At all times relevant herein, Defendants Dzurkoc and/or John Does 1-10 were acting

within the scope of their employment as Trenton police officers and/or the U.S. Marshall’s New

York/New Jersey Regional Fugitive Task Force.

       3. Defendants Dzurkoc and/or John Does 1-10 had a duty to the Plaintiff to not expose

her to an unreasonable risk of injury.

       4. Through the acts and omissions set forth at length above, Defendants Dzurkoc and/or

John Does 1-10 breached that duty.

       5. The acts and omissions of the Defendants were in violation of the common law of the

State of New Jersey.

       6. As a direct and proximate result of their breach of duty to plaintiff, she was caused

to suffer significant and permanent physical and emotional injury; medical expenses; lost wages

and pain and suffering, and will suffer additional special damages in the future in an amount

which cannot yet be determined.

       WHEREFORE, Plaintiff Gloria Noemi Ramirez Caal demands judgment against

Defendants Tara Dzurkoc, the City of Trenton and/or John Does 1-10 on this Count together with

compensatory and punitive damages, attorney’s fees, interest and costs of suit incurred, and for

any such further relief as the court deems proper and just.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury as to all issues.




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                          DESIGNATION OF TRIAL COUNSEL

       Please be advised that Thomas J. Mallon, Esquire is hereby designated trial counsel in the

above captioned matter.


Dated: April 27, 2021                               /s/ Thomas J. Mallon, Esquire
                                                     THOMAS J. MALLON, ESQUIRE




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